1    JILL H. FORD
2
     Chapter 7 Panel Trustee

3    P.O. Box 5845
     CAREFREE, AZ 85377
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5
                           IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF ARIZONA
6
      In re:                                               Chapter 7
7

8     DOTTS, THERESA LYNNE                                 Case No. 18-01164-PHX BKM

9                                                          NOTICE OF TRUSTEE SALE
10
                            Debtor(s)
11
     NOTICE IS HEREBY GIVEN that property belonging to the estate of the above-named
12   debtor(s) will be sold to the person making the highest and best offer on May 25, 2018 at 8:30
     a.m. at 230 N. First Avenue, Suite 102, Phoenix, AZ 85003.
13

14       Property to be sold: Estate’s interest in Inland Oasis Group, Inc. Debtor asserts an
                              unknown percentage interest in Inland Oasis Group, Inc., which
15                            owns/operates “The Reef” bar and restaurant at 2041 N. Arizona Ave.
                              Chandler, AZ 85225. Inland Oasis Group, Inc. is in its own chapter
16
                              11 bankruptcy in Arizona, Case No. 2:17-bk-13376-MCW. Relevant
17                            documents are attached hereto as Exhibit A. Additional information
                              is available on the Arizona Corporation Commission and Bankruptcy
18                            Court (PACER) websites.
19
         Terms of Sale:        Cashiers Check. The sale is “as is, where is” without any
20                             representations or warranties of any kind or nature. Inland Oasis
                               Group, Inc. has filed for Chapter 11 in the United States Bankruptcy
21                             Court for the District of Arizona, Case No. 2:17-bk-13376-MCW. The
22
                               sale is subject to all liens, claims and interests, including, but not
                               limited to, any restrictions which may be imposed pursuant to the
23                             bankruptcy proceeding of Inland Oasis Group, Inc., by any shareholder
                               agreement or other applicable agreements. There is not an appraisal of
24
                               the property. Interested parties are expected to conduct their own due
25                             diligence.

26       To:                   SM Financial Services Corporation
27
         Purchase price:       $1,000.00
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1
     or any person making a higher and better offer at the time and date set for the sale. All sales are
2    subject to sales tax unless the property being sold is tax-exempt or a resale number is used as
     proof of exemption.
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     Questions regarding the sale can be directed to Patrick Derksen, Attorney for the Trustee, at
4
     602-680-7332.
5
     Any person opposing the sale shall file a written objection on or before five days prior to the sale
6    date with the Clerk of the U.S. Bankruptcy Court, 230 N. 1st Avenue, Suite 101, Phoenix, AZ and
7
     mailed to the trustee JILL H. FORD at the following address: P.O. Box 5845, CAREFREE AZ
     85377.
8
     If a person timely objects in writing and a hearing is requested but has not yet been conducted
9    by the scheduled sale, bids will still be taken and the normal sales procedure followed. The
10
     closing of the sale remains dependent upon the outcome of the Court hearing on the objection.

11   The property sold is all right, title and interest of the Bankruptcy estate in and to such property,
     if any, subject to any and all liens, claims and interest. The property is sold “as is, where is”
12
     without warranty of any kind including, but not limited to, title, fitness, merchantability or
13   otherwise.

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15
      April 27, 2018                                   /s/ Jill H. Ford
16    Date                                             JILL H. FORD, Trustee

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                          Exhibit A

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                          EXHIBIT A 

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                           EXHIBIT B 

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 1   represent the Trustee in this case effective as of March 14, 2018, the filing date of the
 2   Application.
 3          IT IS FURTHER ORDERED that legal services rendered by Witthoft Derksen, P.C., on
 4   behalf of the Trustee and this Estate be charged on an hourly basis in accordance with the terms
 5   set forth in the Trustee’s application to employ said Firm, and that costs be charged by the Firm
 6   to the Estate and that approval of employment of a professional person DOES NOT
 7   automatically approve any fee arrangement set forth in the application or any attachments
 8   thereto. No fees are pre-approved by the court. Any request for a professional fee must be made
 9   separately, by a detailed application supporting the request, notice must be given to creditors and
10   other parties-in-interest, and the court must have an opportunity to review any objections which
11   any party may have. The court may also consider the application in the absence of any
12   objections, and may adjust the fees according to the merits of the particular case. 11 U.S.C. §§
13   327, 329, 330, and 331.
14
            DATED AND SIGNED ABOVE.
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